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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


WADE HAMMOND, on behalf of
himself and a class of similarly                                    1:18-cv-02092
situated individuals,

             Plaintiff,                                      Honorable Judge Sara L. Ellis

v.

ATLANTIC CREDIT & FINANCE, INC.,

              Defendant.

                             JOINT INITIAL STATUS REPORT

        Pursuant to Fed. R. Civ. P. 26(f) and this Court’s Case Management

Procedures, the Parties jointly submit the following Initial Status Report.

1.      The Nature of the Case.

        A.       Parties:

For Plaintiff                                         For Defendant
James C. Vlahakis (Lead)                              David M. Schultz (Lead)
Ahmad T. Sulaiman                                     Todd P. Stelter
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        B.       Claims asserted:       This civil action has been brought as a class

action pursuant to the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et

seq.    (“FDCPA”).          Plaintiff   alleges       that    Defendant   MIDLAND     CREDIT

MANAGEMENT, INC. (“Defendant”) sent Plaintiff three letters which violate the
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FDCPA. First, Defendant mailed a “PRE-LEGAL NOTIFICATION” letter to

Plaintiff   on      Friday,    November        3,       2017.        The   phrase   “PRE-LEGAL

NOTIFICATION” is typed in a large font. The November 3, 2017, Letter includes

a box which states “Reply by calling our office at: 800-888-9419 by

11/10/2017.” November 10, 2017, was a Friday and a holiday, Veterans Day

(observed by the United States Post Office on Saturday, November 11, 2017).

The second sentence of the November 3rd Collection Letter said, “[t]his letter is

to inform you that Midland Funding, LLC is considering forwarding this

account to an attorney in your state for possible litigation.” The third sentence

of the November 3rd Collection Letter said, “[u]pon receipt of this notice, please

call 800-888-9419 to discuss your options.” The fourth sentence of the

November 3rd Collection Letter said, “[i]f we don’t hear from you or receive

payment, Midland Funding, LLC may proceed with forwarding this account to

an attorney.”

       Plaintiff contends that the November 3rd Collection Letter violates the

FDCPA because the above quoted language invoked a false sense of urgency

relative to threatened legal action if Plaintiff did not pay. Further, the time-

frame set forth by the November 3rd Collection Letter gave Plaintiff no more

than   five   (5)    business     days    to        respond     to    Defendant’s   “PRE-LEGAL

NOTIFICATION”, assuming, for the sake of argument only (and not as a factual

allegation), that Plaintiff received the letter on Monday, November 6, 2017.

       Defendant sent a second collection letter to Plaintiff on or about

November 11, 2017.            Plaintiff alleges that Defendant violated the FDCPA by


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provided him with no more than three business days to dispute a purported

payment arrangement.

      Defendant mailed a third collection letter to Plaintiff on or about

November 14, 2017. Plaintiff alleges that Defendant violated the FDCPA asking

Plaintiff to dispute a purported payment arrangement by November 14, the

same day the that the third letter was purportedly mailed to Plaintiff.

      In summary, Plaintiff contends that the three letters constitute

harassing, oppressive, and/or abusive conduct in violation of Section 1692d of

FDCPA.     Alternatively, Plaintiff contends that the three letters constitute false,

deceptive, and/or misleading conduct in violation of Section 1692e of FDCPA.

Further,   Plaintiff   contends    that   the   November   3,   2017,   “PRE-LEGAL

NOTIFICATION” letter violated Section 1692e(5) of the FDCPA which prohibits a

debt collector from “threat[ening] to take any action that cannot legally be

taken or that is not intended to be taken.”

      Plaintiff alleges that settlement offer violates the following Sections of the

FDCPA: § 1692e which              prohibits “any false, deceptive, or misleading

representation or means in connection with the collection of any debt”; §

1692e(2)(a) specifically prohibits: “The false representation of — the character,

amount, or legal status of any debt” ;1692e(10) specifically prohibits the “use of

any false representation or deceptive means to collect or attempt to collect any

debt”; § 1692f prohibits a debt collector from using “unfair or unconscionable

means to collect or attempt to collect any debt.”




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       Defendant denies that it violated the FDCPA and is prepared to contend

that Plaintiff is required to arbitrate his claims on an individual basis pursuant

to an arbitration agreement entered into between Plaintiff and the underlying

creditor.   Additionally, Defendant contends that Plaintiff’s circumstances are

unique to him and do not support certification of a class action.

       C.    Major legal issues:      Whether the collection letter violates the

FDCPA and whether Plaintiff is required to arbitrate his claims.

       D.    Relief sought:     Plaintiff seeks statutory damages as provided

under the FDCPA, 15 U.S.C. §1692k(a)(2)(A), declaratory and injunctive relief,

and recoverable costs and reasonable attorney fees as authorized by Section

1692k(a)(3) of the FDCPA. Defendant does not currently seek any damages but

seeks the dismissal of this case by way of arbitration and/or a decision on the

merits.

2.     Jurisdiction. Plaintiff alleges subject matter jurisdiction pursuant to 47

U.S.C §227, 15 U.S.C §1692, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States. Defendant admits the complaint purports

to allege a violation of the FDCPA, a federal statute, thereby initially invoking

the subject matter jurisdiction of this Court. However, defendant denies that

plaintiff has Article III standing under Spokeo, Inc. v. Robins, No. 13-1339

(S.Ct. 2016). Defendant further denies jurisdiction as it may not exist due to

an arbitration agreement that requires this matter be adjudicated in a different

forum.




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3.     Status of Service. Defendant has been served and is represented by

counsel.

4.     Consent to Proceed Before a United States Magistrate Judge.                 The

Parties do not mutually consent.

5.     Motions.     There are no pending motions before the Court. Defendant

answered the Complaint on May 18, 2018. Dkt. 16.

       A.      The parties MIDP disclosures are due June 15, 2018.

       B.      Discovery Plan

               1.   The Parties anticipate discovery will relate to whether the

form of Defendant’s letter violated the FDCPA, whether a class can be certified,

whether putative class members ascertainable through Defendants’ records,

third-party records and commercially available databases and search tools; the

measure damages incurred by Plaintiff and the putative class members; and

Defendant’s net-worth for purposes of FDCPA based damages cap.

               2.   This case is not exempt from MIDP.

               3.   The Parties will issue written discovery on or after June 22,

       2018.

               4.   Fact discovery completed by September 25, 2018.

               5.   Plaintiff to issue expert report(s) by October 23, 2018;

Defendant to issue expert report(s) by November 20, 2018; Plaintiff’s rebuttal

report(s) if any, by December 11, 2018; and depositions completed by January

31, 2019.

               6.   Final Supplement MIDP responses by July 13, 2018.


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             7.      If no expert discovery is undertaken, dispositive motions by

October 23, 2018. If expert discovery is undertaken, dispositive motions by

February 28, 2019.

       C.    Trial

             1.      Plaintiff has demanded a jury trial.

             2.      Two days inclusive of jury selection.

7.     Status of Settlement Discussion

       A.    Initial settlement discussions have taken place.

       B.    Not applicable at this time.

       C.    Plaintiff desires a settlement conference. Defendant is not ready to

commit to a settlement conference at this point.

Dated: May 23, 2018

On behalf of Plaintiff and a class of       On behalf of Defendant
similarly situated individuals

/s/ James C. Vlahakis                       /s/ Todd P. Stelter
James C. Vlahakis                           Todd P. Stelter




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